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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



A.B.-8., et al.,                                   )
                                                   )
                      Plaintiffs,                  )
                                                   )
               v                                   ) Civil Case No. 20-cv-846 (RJL)
                                                   )
MARK A. MORGAN, Acting                             )
 Commissioner, U.S. Customs and Border             )
 Protection, et al.,                               )
                                                   )
                      Defendants.                  )




                                Au           2020 [Dkt. #12]

       Plaintiffs are four mothers and their seven children from Honduras, Ecuador, and

Mexico who seek asylum in the United States based on fears of kidnapping, rape, torture,

and murder by individuals connected to politicians or drug cartels in their home countries

With their lives potentially on the line, they challenge   a   January 30,2020 Memorandum   of

Agreement delegating authority from U.S. Citizenship and Immigration Services ("CIS")

to allow agents from U.S. Customs and Border Protection ("CBP") to conduct "credible

fear" interviews for asylum seekers. Plaintiffs contend that the Memorandum of

Agreement (1) was issued in violation of the Federal Vacancics Rcform Act, (2) violatcs

the Homeland Security Act's delegation of asylum authority to CIS, (3) violates the

Immigration and Nationality Act's requirements for the asylum process, (a) is arbitrary and

capricious in violation of the Administrative Procedure Act, (5) violates the Due Process
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Clause   of the Fifth Amendment to the U.S. Constitution, and (6) violates the U.N.
Convention Against Torture'   s   protection against r efoulement.

       Plaintiffs faced imminent removal from the United States after their negative

"credible fear" determinations by CBP agents were upheld by immigration judges. As

such, they sought a temporary restraining order preventing their removal and, as relevant

here, preliminary injunctive relief barring CBP agents from conducting further credible

fear interviews pursuant to the January 30, 2020 Memorandum of Agreement. While

plaintiffs raise many important claims, I need address only one of them here because

plaintiffs have shown a likelihood of success on the merits of their claim that the use of

CBP agents who receive substantially less training than CIS asylum officers to conduct

asylum interviews violates the Immigration and Nationality Act. Weighing the preliminary

injunction factors, I find that plaintiffs are entitled to preliminary injunctive relief.

Accordingly, the Court hereby GRANTS plaintiffs' motion for a preliminary injunction

lDkt. #121.

                                       BACKGROUND

   L       The Expedited Removal System

       Prior to 1996, noncitizens who entered the United States without valid authorization

generally received a full hearing in immigration court before they could be removed. In

1996, Congress passed the Illegal Immigration Reform and Immigrant Responsibility Act

("IIR[RA"), amending the Immigration and Nationality Act ("INA") to establish            an

"expedited removal" process through which certain noncitizens seeking admission to the

United States could be removed "without fuither hearing or review," 8 U.S.C.


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$ 122s(b)(1xA)(i). See Pub. L. No. 104-208, 110 Stat. 3009-546 (1996) (codified              as


amended in scattered sections of 8 U.S.C.). Under the expedited removal framework, an

alien "who is arriving in the United States" or "certain other aliens" shall be ordered

"removed from the United States without further hearing or              review." 8      U.S.C

$ 1225(bXlXA). However, the IIRIRA created an exception for individuals who indicate

"an intention to apply for asylum" or "a fear of persecution" upon returning to their home

countries.   Id.   Under this exception, an immigration officer "shall refer the alien for an

interview by an asylum officer," id. 51225(bXlXAXii), to determine whether the alien

"has a credible fear of persecution," id. $ 1225(bXlXBXii).             A "credible    fear of

persecution"     is "a significant possibility, taking into   account the credibility   of   the

statements made by the alien in support of the alien's claim and such other facts as are

known to the officer, that the alien could establish eligibility for asylum." Id.

$ 1225(bXlXB)(v). To establish eligibility for asylum, an applicant must show that there

is at least a l0o/o chance that he or she will be persecuted based on one of the five protected

grounds: race, religion, nationality, membership in a particular social group, or political

opinion.   1NS   v. Cardoza-Fonseca,48O U.S. 421,43940 (1987)

       In the INA, Congress requires that asylum officers conducting these interviews must

have "professional training in country conditions, asylum law, and interview techniques

comparable to that provided to full-time adjudicators" of asylum applications. 8 U.S.C

$ 1225(bX1XE). They must also be "supervised by an officer" who has the requisite

training and "has had substantial experience adjudicating asylunr applications."      Id. The
asylum interview is designed to "elicit all relevant and useful information bearing on


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whether the applicant has a credible fear of persecution or torture." 8 C.F.R. $ 208.30(d).

The asylum officer must therefore "conduct the interview in a nonadversarial manner" and

provide an interpreter    if the asylum officer "is unable to proceed competently in [the]
language" of the interviewee. Id.

         After the interview, if the asylum officer determines that the alien has a credible fear

of persecution, the alien shall be detained pending further consideration of his or her

asylum application. 8 U.S.C.         $ 1225(b)(lXBXii). If not, the alien shall be ordered
"removed from the United States without further hearing                           or review."             Id,

$ 1225(bX1)(B)(iii). However, any determination that an alien does not have a credible

fear of persecution shall receive "prompt review by an immigration judge" at the alien's

request. Id. S t22s(bXlXBXiii)(IID.

   il.      U.S. Department of Homeland Security

         This expedited removal process falls within the jurisdiction of the U.S. Department

of Homeland Security and its constituent agencies. The Department of Homeland Security

("DHS") is a cabinet-level department of the federal government with responsibility for

domestic security, including issues           of     terrorism, border security, immigration,

cybersecurity, and disaster prevention and management. See Nat'l Treasury Emps. (Jnion

v. Chertoff,452F.3d,839, 845 (D.C.Cir. 2006). Congress created DHS in the Homeland

Security Act ("HSA") of 2002, after the terrorist attacks of September I l, 2001 raised

"concerns regarding a federal system that diffused the responsibility for domestic security

among numerous separate and independent agencies."              Nat'l   Treasury Emps. (Jnion v.

Chertffi   3   85 F. Supp. 2d   I, 5-6 (D.D.C. 2005);   see Pub. L.   No.   107   -296,   1   l6 Stat. 2l 3 5

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(2002) (codified as amended in scattered sections of 6 U.S.C.). In the resulting agency

reorganization, Congress eliminated the Immigration and Naturalization Service ("INS")

and replaced it with three sub-agencies that report to DHS: the Bureau of Citizenship and

Immigration Services, U.S. Customs and Border Protection, and U.S. Immigration and

Customs Enforcement. See Kaur v,       Chertffi 489 F. Supp. 2d 52,55 n.5 (D.D.C. 2007).

Other sub-agencies within DHS include the Transportation Security Administration, the

Federal Emergency Management Agency, the U.S. Coast Guard, and the U.S. Secret

Service, among others.

        As relevant here, the Bureau of Citizenship and Immigration Services ("CIS")

succeeded the   INS in administering the United States' immigration and naturalization

adjudication system. See 6 U.S.C. $ 271. In the HSA, Congress gave the Director of CIS

authority over adjudications of immigrant visa petitions, naturalization petitions, asylum

and refugee applications, and any other issues previously adjudicated by the       INS.   Id.

$   271(b). By regulation, the Refugee, Asylum, and International Operations ("RAIO")

Directorate within CIS has jurisdiction over asylum applications and credible fear

determinations. 8 C.F.R. $ 208.2(a).

        U.S. Customs and Border Protection ("CBP"), on the other hand, is a law

enforcement agency that manages border control, including enforcing U.S. immigration

and customs regulations, interdicting persons or goods illegally entering or exiting,

collecting import duties, and regulating international trade. See 6 U.S.C.    $   211.   CBP

agents are "highly trained law enforcement personnel" who conduct screenings at the

border for illegal immigration, narcotics smuggling, and illegal importation, and apprehend


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individuals for suspected violations of U.S. law. See Border Security, U.S. Customs &

Border Prot., https://www.cbp.gov/border-security (last visited Aug.29,2020)

   III.    January 2020 Memorandum of Agreement

        Since 2002, trained asylum officers from CIS's RAIO Directorate have conducted

all asylum interviews and made all credible fear determinations.l However, on June 25,

2019, Acting CIS Director Ken Cuccinelli issued DHS delegation 2019-001, which

delegated authority to CBP agents to conduct credible fear interviews. ,See Defs.' Opp'n,

Ex. 4, Decl. of Stephen Dove, Ex. 1, Dep't of Homeland Sec., Delegation to                          the

Commissioner      of U.S. Customs and Border Protection Regarding Credible                        Fear

Determinations ("June CIS Delegation") (June 25,2019) [Dkt. #17-4]. The June CIS

Delegation states that       it is "fs]ubject to the terms of a separate Memorandum of
Agreement" between Acting CIS Director Cuccinelli and the highest ranking official at

cBP. rd. nrr

        On July 10,2019, Acting CIS Director Cuccinelli and Acting CBP Commissioner

Mark Morgan entered into such        a Memorandum       of Agreement implementing the June 25,

2019 delegation.    ,See   Pls.' Mot. for Prelim. Inj. ("Pls.' PI Mot."), Ex.     1, Memorandum      of

Agreement ("July MOA") ll 2 (July 10,2019) lDkt. #12-31. The purpose was to "set forth

terms under which USCIS and CBP can foster collaboration through a Task Force (TF)

assignment for the purposes of training and hearing credible fear (CF) claims and making


ISee Refugee, Asylum and International Operations Directorate, U.S. Citizenship & Immigration Servs.
(Mar. 10, 2020), https://www.uscis.gov/about-us/directorates-and-program-offices/refugee-asylum-and-
international-operations-directorate; U.S. Citizenship & Immigration S"*r., Asylum Division, Affirmative
Asylum Procedures Manual (May 2016), https://www.uscis.gov/sites/default/files/document/guides/
AAPM-2016.pdf.


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determinations through the interview process." Id.     n3.   Under the agreement, CBP could

assign U.S. Border Patrol agents to conduct credible fear interviews. Id. n         4.8. By its
terms, the July MOA would expire unless extended after 180 days. Id. nS.

        After the July MOA expired on January 6, 2020, CIS Deputy Director Mark

Koumans and Acting CBP Commissioner Morgan entered into a new Memorandum of

Agreement on January 30, 2020. ,See Compl., Ex.              A, Memorandum of        Agreement

("January MOA") (Jan. 30, 2020) [Dkt.          #3-1]. The January MOA       assigns CBP law

enforcement officers to replace CIS asylum officers in conducting asylum interviews and

making credible fear determinations.     See   id.fl 3. Under the January MOA, no CBP agent

assigned   to conduct asylum interviews shall do so for longer than 180 days. See id.

u   4.B.vii. The January MOA is to remain in effect for 180 days unless terminated by the

parties, and it can be renewed up to 180 days by a signed extension.    Id.18.
     IV.    Plaintiffso Challenge

        Plaintiffs are mothers and their children from Honduras, Ecuador, and Mexico who

seek asylum in the United States. They are cuffently detained at the South Texas Family

Residential Center in Dilley, Texas. Compl. flfl 5, 13-17 . Eachplaintiff   s   asylum interview

was conducted by a CBP agent pursuant to the January 30, 20i20 Memorandum of

Agreement, and each plaintiff received a negative credible fear determination. Id. Xn A-

17. In each   case, the   plaintiff s negative determination was affirmed by an immigration

judge. Id. n B.

        Plaintiff A.B.-B. is a Honduran woman who seeks asylum for herself and her 8-

year-old son, plaintiff S.B.-8. Id. n   A.   She fled Honduras because she had been beaten,


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raped, and threatened with death by two former romantic partners. Pls.' Emergency Mot.

for TRO & Related Administrative Stay ("Pls.' TRO Mot."), Ex. A, Decl. of A.B.-B. fl                 3


[Dkt.   #8-l].     One former romantic partner "is associated with powerful politicians in

Honduras" and has'othreatened to         kill [her]" and"akeady      attempted to kidnap [her] son."

Id. The other former romantic partner, her son's father, "used to be an assassin"           and has

threatened to    kill her.   Id.   According to plaintiff A.B.-B., she reported her son's father's

abuse to the police once, but after the police detained him for 24 hours, "he bribed the

police to let him go." Id.fln 5-6. Plaintiff A.B.-B. sought asylum in the United States and

had her credible fear interview with a CBP agent on February 4,2020; the agent issued a

negative credible fear determination on February 7, 2020, and this determination was

affirmed by an immigration judge on February 12,2020. Compl. fl 14.

        Plaintiff M.A.G.-M. is an Ecuadorian woman who seeks asylum for herself and her

l-year-old son, plaintiff D.G.M.-G. Id. n 15. She fled Ecuador because a man with

powerful connections to the government and police in Ecuador abducted, beat, and raped

her once and attempted to do so again. Pls.' TRO Mot., Ex. D, Decl. of M.A.G.-M.flfl                3-

5 [Dkt. #8-4]. She had previously reported this man to the police for stabbing her father;

he has since threatened to stab her like he did to her father and has threatened to          kill   her

son. Id. flfl 3,   5.   She explained that the man told her   if   she moved elsewhere in Ecuador,

he would find her with the help of his friends in government. Id. fl         6. Plaintiff M.A.G.-M

sought asylum in the United States and had her credible fear interview on January 30,2020;

the agent issued a negative credible fear determination on January 31, 2020, and the

determination was affirmed by an immigration judge on February 7,2020. Compl. !J 15.


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       Plaintiff L.E.-L. is   a   Mexican woman who seeks asylum for herself and her 2-year-

old daughter, plaintiff I.I.E.-L. Id. n      rc.   She fled Mexico with her daughter because she

had been threatened and beaten by men from a specific cartel based on her sexual

preference for women. Pls.' TRO Mot., Ex. C, Decl. of L.E.-L. fl 3 [Dkt. #8-3]. Plaintiff

L.E,.-L. stated that her ex-partner-her daughter's father-raped her and forced her to stay

with him because she could not be "out"        as lesbian in her   religious and anti-gay community.

Id. n 4. She also stated that men wearing official police or military uniforms would come

to her house and ask for money, force her and her daughter to take off their clothes, and

beat them. Id. n   5. On one occasion, when         she had no money to give these men, they beat

her and threatened to     kill her and her daughter if they did not leave town. Id. n 6.    She was

afraid to report any of these acts to the police because her female partner had previously

reported abuse to the police and then had been abducted and murdered. Id. fl             7. Plaintiff

L.E.-L. had her credible fear interview on February 20,2020,which resulted in             a negative


credible fear determination on March 2, 2020; this determination was afhrmed by an

immigration judge on March 10,2020. Compl. tl              16.


       Plaintiff A.P.-S. is a Mexican woman who seeks asylum for herself and her four

minor children, plaintiffs E.L.R.-S., A.A.R.-S., B.J.R.-S., and W.G.L.-S. Id. n 17. Her

family owns a successful ranch in Mexico that has apparently earned them significant

financial wealth and public prominence, as well as the fury of a specific cartel. Pls.' TRO

Mot., Ex. B, Decl. of A.P.-S. llfl 3-4 [Dkt. #8-2]. She seeks asylum in the United States

because she fears that this specific drug cartel         will murder her   and her children, as   it   has

targeted her family   .   Id. n   3.   This cartel has kidnapped, tortured, and killed her family


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members, including her husband, uncles, and others, and has threatened to      kill her. Id. The
police have been of little help to her family, as they have not investigated the death of her

husband orthe threats to her own life.   Id.n5. PlaintiffA.P.-S.   had a credible fear interview

with a CBP agent on February 24, 2020, and received a negative credible                     fear

determination on February 27,2020, which was affirmed by an immigration judge on

March 3,2020. Compl. fl 17.

   V.     Procedural History

        On March   27,2}z},plaintiffs filed a complaint against defendants Mark A. Morgan,

Acting Commissioner of U.S. Customs and Border Protection; Chad F. Wolf, Acting

Secretary of Homeland Security; Kenneth T. Cuccinelli, Senior Official Performing the

Duties of the Director of U.S. Citizenship and Immigration Services; Andrew J. Davidson,

Acting Chief of the Asylum Division of U.S. Citizenship and Immigration Services; and

William P. Barr, Attorney General (collectively, "defendants"). The complaint raises six

claims: First, that CBP's entry into the January MOA is invalid because Mark Morgan's

appointment to serve as Acting CBP Commissioner violates the Federal Vacancies Reform

Act and the Appointments Clause of the U.S. Constitution. Second, that the January MOA

violates the Homeland Security Act, which gives authority over adjudicating asylum claims

to CIS rather than CBP. Third, that use of CBP agents to conduct asylum interviews

violates the Immigration and Nationality Act and the Refugee Act, which require asylum

officers to receive certain levels of training and conduct interviews in a nonadversarial

manner. Fourth, that the January MOA is arbitrary and capricious because it inhibits

legitimate applications for asylum without   a   reasonable justification. Fifth,that use of CBP


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agents and failure    to apply the requisite        procedrrral protections violates the Fifth

Amendment's Due Process Clause. And sixth, that use of CBP agents to conduct asylum

interviews has the goal or practical result of violating the protection against refoulement

codified in the Immigration and Nationality Act and the U.N. Convention Against Torture.

       After receiving notice that some plaintiffs were "in imminent danger of being

removed from the country within the next 24 hours," plaintiffs moved for a temporary

restraining order and administrative stay on   April 1,2020. Pls.' TRO Mot. at 1 [Dkt. #8];

see also   id.,Ex. E, Decl. of Allison E. Herre at lTfl 1, 3 [Dkt. #8-5]. That evening, I

temporarily enjoined defendants from removing plaintiffs from the United States pending

a telephonic hearing set for   April 2, 2020 at 3:00 P}d.    41112020   Order. After that hearing,

I granted an administrative stay to preserve the status quo pending my ruling on plaintiffs'

forthcoming motion for a preliminary injunction. See Order [Dkt.               #11]. The parties
finished briefing the motion for a preliminary injunction on April 27,2020, and I held           a

telephonic hearing on May 12,2020. Because the issues were particularly complicated and

new issues were raised at the hearing,   I allowed the parties to offer supplemental briefing,

which they submitted on June 1, 2020.

                                       JURISDICTION

       The Court must first assess whether           it   has jurisdiction   to review plaintiffs'
challenges to the January 2020 Memorandum of Agreement. Federal district courts have

general subject-matter jurisdiction over    "all civil actions arising under the Constitution,

law, or treaties of the United States." 28 U.S.C. $ 1331. However, Congress may limit

this general grant of jurisdiction "by establishing an alternative statutory scheme for


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administrative and judicial review." Am. Fed'n of Gov't Emps., AFL-AO v. Trump, 929

F.3d 748,754 (D.C. Cir. 2019). In the IIRIRA, Congress stripped jurisdiction from the

federal courts to review four specific types         of claims   related   to   expedited removal:

"individual determination[s]" related to removal, decisions by the Attorney General to

invoke expedited removal, application of expedited removal to individual aliens, and,

unless otherwise provided, "procedures and policies adopted by the Attorney General." 8

U.S.C. $ 1252(a)(2)(A). However, Congress preserved judicial review in this court of

claims that"a regulation, or a written policy directive, written policy guideline, or written

procedure issued . . . to implement" the expedited removal system is "in violation of law."

Id. 5 1252(eXl)(A)(ii) (emphasis added). The parties do not dispute that the January MOA

is a written policy guideline or procedure issued to implement the expedited removal

system.   ,See   Pls.' PI Mot. at 44; Defs.' Opp'n at 13-17.

       Nevertheless, the Government contends that plaintiffs' challenge to this policy is

untimely because plaintiffs filed their suit more than 60 days after CIS's original June 25,

2019 delegation of authority to CBP to conduct asylum interviews. Under the IIRIRA, any

suit challenging a written policy guideline or procedure related to expedited removal           as


unlawful must be filed "no later than 60 days after the date the challenged section,

regulation, directive, guideline,      or procedure.   . . is   first implemented." 8       U.S.C.

$ 1252(e)(3)(B) (emphasis added). Plaintiffs filed their suit on March 27,2020, within 60

days of the January 30,2020 Memorandum of Agreement but more than 60 days from both

the June 25,2019 CIS delegation of authority and the July 10,2019 Memorandum of

Agreement. The question, then, is which policy or procedure is the operative one that


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plaintiffs challenge. Because I conclude that plaintiffs' challenge is to the January MOA,

the Court has jurisdiction to review plaintiffs' challenge. How so?

       Under DHS policy, the January MOA is the operative written policy guideline or

procedure that implements CIS's delegation to      CBP. Per the DHS Secretary's original

delegation of authority to CIS in June 2003,the re-delegation of asylum-related authority

from CIS to CBP, to the extent it is not contrary to a statute such   as the   Homeland Security

Act, must occur with the CBP Commissioner's consent.       ,See   Defs.' Opp'n, Ex. A, Decl. of

Juliana Blackwell, Ex. 1, Dep't of Homeland Sec., Delegation to the Bureau of Citizenship

and Immigration Services ("2003 DHS Delegation")          fl IV (June 5, 2003) [Dkt.      #17-1]

("The Director or the highest ranking official also may re-delegate the authority contained

in this delegation to the Commissioner of CBP or to Assistant Secretary for ICE, with their

consent."). The June 25,2019 delegation from Acting CIS Director Cuccinelli to CBP was

issued only by CIS and contains no indication of consent from the CBP Commissioner.

See June CIS Delegation at   2. Acting CBP Commissioner           Morgan first consented to the

delegation in the July 10, 2019 Memorandum of Agreement, see July MOA at 5, which

was initially the operative written policy guideline or procedure implementing CIS's

delegation.

       Moreover, the June 25,2019 delegation states that it is "[s]ubject to the terms of a

separate Memorandum of Agreement," June CIS Delegation Jf II, which had not yet been

issued. Without the substantial details laid out in the Memorandum of Agreement, CBP

agents could not have "implemented" the delegation and been able to conduct credible fear

interviews. Indeed, in a similar case before one of my colleagues concerning the July


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MOA, the Government took the position that the delegation was first implemented either

when the July MOA became effective or when a CBP agent first conducted a credible fear

interview under the July MOA. See M.M.V. v, Barr, Case No. l9-cv-2773, Defs.' Suppl.

Mem. in Opp'n to Pls.' Mot. for TRO at 17-18 (D.D.C. Dec.       27   ,2019) [Dkt. #591. In its

own pleadings and argument before this Court, the Government repeatedly refers to the

Memoranda of Agreement as "implementing" the delegation. See, e.g., Defs.' Notice          of
Ratification & Suppl. Authority at 2 [Dkt. #22];   511212020   Hr'g Tr. 2l:12-14 lDkt. #261

("[T]he January MOA provides the operational implementation of this delegation that first

occurred back in June 2019 for CBP."). As such, I conclude that the June CIS Delegation

was not operative by itself and required a Memorandum of Agreement between CIS and

CBP to implement it.

      Finally, plaintiffs correctly note that the January MOA is a separate policy guideline

or procedure from the July MOA, not merely an extension of       it. Tr. 15 13-16:20. By its
own terms, the July MOA could be in effect for only 180 days and, having not been

renewed, expired on January 6,2020. See July MOA tl 8. CIS and CBP did not renew the

July MOA and instead issued a new, substantively different Memorandum of Agreement

on January 30,2020. Compare July MOA fl 4.B. (authorizing U.S. Border Patrol agents

to conduct asylum interviews), with January MOA fl 4.B. (authorizing U.S. Customs and

Border Protection agents to conduct asylum interviews). Therefore, the "written policy

guideline or procedure" "implementfing]" the delegation that plaintiffs challenge      here-
the procedure by which plaintiffs were interviewed by CBP agents rather than CIS asylum

6ffiss15-is the January MOA adopted on January 30, 2020. See 8 U.S.C. g 1252(e)(3).


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Plaintiffs filed their challenge within 60 days of that policy, and this Court therefore has

jurisdiction under 8 U.S.C. 5 1252.

                                    LEGAL STANDARI)

         A preliminary injunction is an ooextraordinary remedy that may only be awarded

upon a clear showing that the plaintiff is entitled to such   relief."   Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 22 (2008). To obtain preliminary injunctive relief, a plaintiff

"must establish [1] that he is likely to succeed on the merits   ,l2lthathe    is likely to suffer

irreparable harm in the absence of preliminary relief, [3] that the balance of equities tips in

his favor, and [4] that an injunction is in the public interest." Id. at 20. The last two factors

merge when the Government is the opposing party. Nken v. Holder,556                U.S. 418, 435

(2009). Of course, the movant carries the burden of persuas ion.     See Cobett v.   Norton,3gI

F   .3d 251, 258(D.C. Cir. 2004).

         Although our Circuit Court has taken no position on the "sliding scale approach"

after Winter, see, e.g., Archdiocese of Wash. v. [4/ash. Metro. Area Transit Auth.,897 F.3d

314,334(D.C. Cir. 2018), "the movant must, at a minimum, 'demonstrate that irreparable

injury is likely in the absence of an injunction."' Bill'Barrett Corp. v. tl,S. Dep't oflnterior,

601 F. Supp. 2d331,334-35 (D.D.C. 2009) (quoting Winter,555 U.S.            at22). The Supreme

Court has established that the first two factors-likelihood of success on the merits and

irreparable harm-.rare the most     critical." Nken,556     U.S. at 434. Plaintiffs need only

establish a likelihood of success on the merits of one claim to obtain the injunctive relief

that they seek. See D.C. v. U.S. Dep't of Agriculture,444F. Supp. 3d        I,2l   (D.D.C. 2020).




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                                           ANALYSIS

   I.         Likelihood of Success on Merits

        Plaintiffs have shown a likelihood of success on the merits of their claim that using

CBP agents to conduct asylum interviews violates the Immigration and Nationality Act,

which requires asylum officers to receive certain levels of training and conduct interviews

in a non-adversarial manner. See Pls.' PI Mot. at22-32. In the INA, Congress required

that asylum interviews be conducted by an asylum officer who has had "professional

training in country conditions, asylum law, and interview techniques comparable to that

provided      to   futt-time adjudicators" of asylum applications. 8 U.S.C. $ 1225(b)(1XEXi)

(emphasis added). DHS regulations also require that asylum officers receive special

training on "international human rights law, nonadversarial interview techniques, and other

relevant national and international refugee laws and principles." 8 C.F.R. $ 208.1(b). Each

asylum officer conducting an interview must be "supervised by an officer" who has the

requisite training and "has had substantial experience adjudicating asylum applications."

8 IJ.S.C. $ 1225(bXl)(E)(ii). The asylum officer must also "conduct the interview in a

nonadversarial manner." 8 C.F.R. $ 208.30(d).

        Plaintiffs contend that CBP agents assigned to replace trained CIS asylum officers

under the January MOA "receive less training than real asylum officers and have received

insufficient training to quali$ to serve as asylum officers per the statutory requirements."

Compl.   1T   58; see also Pls.'PI Mot. at 23-25.     I agree. As of February 2020, training for

CIS asylum officers consisted of at least 9 weeks of formal training and 3 to 4 weeks         of
additional credible fear training for asylum officers in offices with heavy credible fear


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caseloads, such as Houston and Arlington.z See a/so Defs.' Opp'n, Ex. 6, Decl. of Ashley

B. Caudill-Mirillo !i 10 tDkt . #17-61("USCIS asylum officers generally receive training

over a 9 week period that is comprised of 110 hours of distance learning and 208 hours                   of
residential training."). CIS asylum officers also must receive 4 hours per week of ongoing

training. See id. Additionally, they receive specialized training on certain topics such                 as


working with survivors of torture, intercultural communication, interviewing children, and

interviewing applicants who have experienced trauma. See Pls.' PI Mot., tr.x.22,Ashley

Caudill-Mirillo, Laws of Hospitality: Asylum and Refugee Law Panel, Cooper Union/Villa

Gillet at3,4,7 [Dkt. #12-24].

        The Government contends that CBP agents who conduct asylum interviews receive

"trainings consistent with [CIS's] prior training history and experience" and therefore meet

the statutory criteria. Defs.' Opp'n at20. Poppycock! The training requirements cited in

the Government's declaration do not come close to being "comparable" to the training

requirements     of full asylum officers. Under the January MOA, CBP                      agents receive

"approximately 80 hours of distance training and up to 120 hours of face-to-face training."

Caudill-Mirillo Decl. fl 1 1. If "comparable" means "similar or equivalent," then 2 to                    5


weeks of distance and in-person training for CBP agents is in no way "comparable" to at

least 9 weeks of formal training for CIS asylum          officers.   See Am.Heritage      Dictionary   180




2,See
    U.S. Gov't Accountability Office, Actions Needed to Strengthen USCIS's Oversight and Data Quality
of Credible and Reasonable Fear Screenings at 27 (Feb. 2020), https://www.gao.gov/assetsl7l0l
704732.pdf ("Asylum Division officials said the 9 combined weeks of distance and residential basic training
constitute the minimum amount of formal training required for asylum officers to effectively screen credible
and reasonable fear cases.").



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(4th ed. 2001).3 Indeed, the Government admits that it decided that "[t]he full scope of

training required for USCIS asylum officers is not necessary for [CBP agents] assigned to

the limited role of conducting credible fear interviews." Caudill-Mirillo            Decl.I   ll;   see

also Tr.23:18-24:13 (arguing "the full scope of training" is o'not required" because of the

"other duties" that CIS asylum officers perform that CBP agents do not). However,

regardless of the reasoning for DHS's decision, Congress disagreed. To make matters

worse, the January MOA precludes any individual CBP agent from conducting credible

fear interviews for longer than 180 days, see January MOA fl 4.B.vii., meaning that CBP

agents cannot gain the experience necessary to appropriately apply the complex asylum

laws and regulations. These procedures plainly violate Congress's requirements.

       DHS regulations and CIS guidelines also require that asylum interviews                       be

nonadversarial proceedings with a neutral decision-maker. 8 C.F.R. $ 208.30(d).4 While

it is not necessary   at this stage of the proceedings for the Court to decide whether CBP

agents could ever lawfully be given authority to conduct asylum interviews and adjudicate

asylum claims, see Compl.        ']Tfl   108-09,   it would certainly   seem unlikely under these

circumstances. After all, law enforcement officers typically "function as adversaries"

whose role is "to investigate criminal activity, to locate and arrest those who violate our

laws, and to facilitate the charging and bringing of such persons to          trial."   New Jersey v


3
  See also Comparable, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/comparable
("capable of or suitable for comparison; similar, like") (last visited Aug. 29, 2020); Comparable,
MacMillan Dictionary, https://www.macmillandictionary.com/us/diction arylamerican/comparable ("fairly
similar to another thing, so that it is reasonable to compare them") (last visited Aug.29,2020).
a See also U.S. Citizenship
                              & Immigrdtion Servs., RAIO Directorate - Officer Training, Interviewing -
Introduction to the Non-Adversarial Interview (Dec. 20, 2019), https://www.uscis.gov/sites/default/
files/documenVfoia/Interviewing_-_Intro_to_the_NonAdversarial Interview LP RAIO.pdf.


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T.L.O.,469 U.S. 325,349 (1985) (Powell, J., concurring). Not surprisingly, CBP itself

characterizes   its agents as "highly trained law enforcement personnel" who conduct

screenings   at the border for illegal immigration, narcotics smuggling, and                illegal

importation, and apprehend individuals for suspected violations of U.S. law. See Border

Security, U.S. Customs & Border Prot., https://www.cbp.gov/border-security (last visited

Aug. 29,2020)

       The Government's response that it has "taken steps to eliminate or at least minimize

the possibility for such interviews to become adversarial," Defs.' Opp'n         atzl,hardly seems

sufficient. Indeed, its primary example of these so-called "steps" is simply ceasing            an

interview   if an agent discovers he or she was involved in apprehending the asylum         seeker

being interviewed. Id. at22. While eliminating such obvious conflicts of interests is surely

necessary, it provides little comfort that CBP agent interviews      will   be nonadversarial. For

that matter, neither does the Government's assurance that it has mandated that CBP agents

"fc]onduct non-adversarial [credible fear] interviews," January MOA tf 4.C.iv. In the final

analysis, CBP agents need to receive, at a minimum, the same amount of training that CIS

asylum officers receive if they are going to overcome their adversarial instincts and act as

neutral decision-makers. Because they clearly have not received such training, the Court

need not address at this stage what else may be required, or whether CBP agents could ever

serve as asylum officers,     a   job traditionally performed by CIS officers.

       This statutory violation cannot be subject to the Government's proposed harmless

error-type analysis.   ^See
                              Defs.' Opp'n at 4041. These training requirements are essential

for a functioning asylum process, which is why Congress required them. The legal


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framework surrounding the U.S. immigration, asylum, refugee, and non-refoulement

adjudication process is complex, to say the least. After all, an asylum officer who is nol

adequately trained    in the applicable legal requirements is less likely to ask the right

questions of an asylum seeker, or for that matter, to gather the facts necessary to make an

accurate determination of whether an asylum seeker has a credible fear of persecution.

Indeed, the record here contains several examples of the effects of inadequate training: one

CBP agent failed to follow up with questions about an asylum-seeking plaintiff s sexual

abuse, and another failed    to inquire into another asylum-seeking plaintiffs husband's

murder investigation. See A.B.-B. Decl.        fl   13; A.P.-S. Decl. fllJ 5-6,   8.   Though an

immigration judge conducts    a de novo   review of   a   negative credible fear determination, de

novo review of the written record means little where the record is incomplete or inaccurate

due to the interviewer's inadequate training. For these reasons, plaintiffs have shown a

likelihood of success on the merits of their claim that allowing CBP agents to conduct

asylum interviews under the January MOA violates the Immigration and Nationality Act.

The first factor therefore weighs in favor of preliminary injunctive relief.

   il.      Irreparable Harm

         Next the Court must weigh whether plaintiffs have established that they would face

an irreparable harm absent preliminary injunctive          relief. Plaintiffs allege two types of
harm: deprivations of physical liberty from continued detention and risk of physical harm

upon return to their home countries. Pls.' PI Mot. at        38+1.   The risk of physical harm is

surely well established enough here. Plaintiffs' declarations explain that they each fled

their home countries due to threats of abuse, torture, sexual assault, kidnapping, and even


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death, to themselves and to their children. See A.B.-B. Decl. flfl         3-7; M.A.G.-M. Decl.

lTfl   3-8; L.E.-L. Decl. flfl 3-8; A.P.-S. Decl. fllI 3-6. While the Court takes no position on

whether plaintiffs are ultimately entitled to asylum, the Court must assume plaintiffs'

likelihood of success on the merits when assessing whether irreparable harm exists.

Chaplaincy of Fult Gospel Churches v. England,454F.3d,2g0,303 (D.C. Cir. 2006).

             In the absence of preliminary injunctive relief, plaintiffs would be subject         to

immediate removal from the United States to countries where they face significant risk            of
physical harm. See Grace v. whitaker, 344 F. Supp. 3d 96, 146 (D.D. C. 2018), aff'd in

part and rev'd      in   part sub nom. Grace v. Barr,965 F.3d 883 (D.C. Cir.2020). To say the

least, this harm could not be remedied after the court has an opportunity to rule on the

merits ofplaintiffs' complaint. See Sean B. v. McAleenan,4l2F. Supp. 3d472,488 (D.N.J.

2019) (finding      it "quite likely"   that a person in a foreign country "in hiding, and under a

threat of death" "could not effectively litigate an immigration appeal" and that,         if   death

threats were carried out, the review process would be moot). As previously discussed,

plaintiffs' claims of irreparable harm are not diminished by an immigration judge's review

if the record that the immigration judge reviews is potentially inaccurate or incomplete as

a result of inadequately trained asylum officers. For these reasons,         I find that plaintiffs
have sufficiently established irreparable harm, weighing in favor of preliminary injunctive

relief.

       III      Balance of Equities / Public Interest

             The balancing of the equities and the public interest, which merge when the

Government is the defendant, Nken,556 U.S. at 435, also weigh in favor of plaintiffs. As


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previously discussed, proceeding to the merits      of this litigation without   preliminary

injunctive relief risks plaintiffs being returned to home countries where they face

significant risk of physical harm. These life-or-death consequences weigh heavily in favor

of preliminary injunctive relief. See Grace,344 F. Supp. 3d at 146; see also Bridges v

Wixon,326 U.S. 135,164 (1945) (Murphy, J., concuming)

       Of course, the Government has a strong interest in the "prompt execution of removal

orders." Nken,556 U.S. at 436. However, the Government and public can have little

interest   in executing removal orders that are based on statutory violations, League of

Women Voters of U.S. v. I,{ewby,838 F.3d    l,12 (D.C. Cir. 2016) ("There    is generally no

public interest in the perpetuation of unlawful agency action."), especially where those

statutory violations may compromise the accuracy     of such removal orders. R.I.L.-R. v

Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015); Grace, 344 F. Supp. 3d at 14144

Indeed, the public has an interest "in preventing aliens from being wrongfully removed,

particularly to countries where they are likely to face substantial harm." Nken,556 U.S. at

436. As such, the balance of interests here weighs in favor of preliminary injunctive relief

                                     CONCLUSION

       Thus, for all ofthe foregoing reasons, plaintiffs' Motion for aPreliminary Injunction

[Dkt. #12]is GRANTED. A separate Order consistent with this decision accompanies this

Memorandum Opinion

                                                            I

                                                  RICHARD J.
                                                  United States District Judge


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